AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                    District of New Mexico

                   United States of America                                    )
                              v.                                               )       Case No. 23-MJ-642 BPB
                                                                               )
                     Rockne Gerard Earles                                      )       Charging District:         District of Columbia
                              Defendant                                        )       Charging District’s Case No. 23-MJ-76



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: This proceeding will be held via Zoom video                                     Courtroom No.: Zoom Video Conference
       conferencing with all participants appearing remotely;
       the Zoom information has been provided to the parties.                          Date and Time: 4/25/2023 1:00 PM EST

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:              4/18/2023
                                                                                                           Judge’s signature


                                                                                        John F. Robbenhaar, US Magistrate Judge
                                                                                                        Printed name and title
